Case 2:12-md-02327 Document 927-1 Filed 11/12/13 Page 1 of 1 PageID #: 10927




                                UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF WEST VIRGINIA
                                      CHARLESTON DIVISION

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IN RE ETHICON, INC., PELVIC REPAIR                             : CIVIL ACTION NO. 2:12-md-02327
SYSTEM PRODUCTS LIABILITY                                      : MDL No. 2327
LITIGATION                                                     :
------------------------------------------------------------   : Judge Joseph R. Goodwin
This Document Applies To All Actions                           :
------------------------------------------------------------   X

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                PLAINTIFFS’ CERTIFICATE OF SERVICE OF FIRST AMENDED
                NOTICE TO TAKE ORAL DEPOSITION OF BRUNO DE LACROIX

          I hereby certify that on November 12, 2013, I served Plaintiff’s First Amended Notice to

Take Oral Deposition of Bruno De Lacroix via email and the foregoing document was

electronically filed with the Clerk of the Court using the CM/ECF system which will send

notification of such filing to the CM/ECF participants registered to receive service in this MDL.

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